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JUDGE

CASE MANAGER ELLEN ALEXANDER

DAVH) HlTr.\'l:R

 

INTERPRETER I\\ 19

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TIME l A-M- "’7~¢’3/ l '1"”3/ P.M. DATE ll~ ci)»/'7
begin end begin end
CR. No. Ll: m » we DEFT. No. Q¢

UNITED STATEs oF AMERICA

VS.

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Dw~.`c ISQaC 051-vague (¢1)

ARRAIGNMENT / REARRAIGNMENT

 

[:l Arraignment |:/lRearraignment held on cts ' j

Deft enters a plea of gpl. (guilty) m

Indictment waived.

ngpl. (not guilty) [:] nolopl. (nolo).

PLEA AGREEMENT: iam ll (e§ ( ij 693 4 (E>U

 

 

 

 

Order for PSI setting Disclosure and Sentencing dates signed.

PSI waived.

Sentencing set F~el'/m,tw=/l gt l 220/3

all XSUD p¢f/\

 

Jury trial set at

 

Deft bond l:] set l:| reduced to $
Deft failed to appear, bench warrant to issue.
Deft bond g continued [:] forfeited.
Deft remanded to custody.

Terminate other settings for this deft.
OTHER PROCEEDINGS 1

:l Cash l:| surety l:l 10% l:] PR.

Tenninate motions for this deft.

 

 

 

 

 

 

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